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   3                 UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TEXAS
                          BEAUMONT DIVISION



   Bruce Cohn,


                 Plaintiff,                    Case No. 1:24-cv-00337


         v.


   Anna Popescu, TrustHFTwallet.com,           Declaration of Marshal Hoda
   and John Does 1 – 20,


                 Defendants.



        I, Marshal Hoda, state and swear as follows.

        I.       Introduction

        1.       My name is Marshal Hoda. I am of sound mind and capable of

  making this Declaration. I have personal knowledge of the facts stated herein.

        2.       I represent Bruce Cohn, the Plaintiff in this matter.

        II.      Notice to Defendants

        3.       I notified the Defendants of the upcoming preliminary-

  injunction hearing via three distinct channels. I have attached true and

  correct documentation of the notice to this Declaration, as indicated below.

        •     Email to annapopescu622@gmail.com (Attachment A);

        •     Message to TrustHFTwallet via the live-chat functionality on

              www.trusthftwallet.com (Attachment B);

                                        -1-
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        •   WhatsApp message to the WhatsApp account that Anna Popescu

            used to communicate with Mr. Cohn (Attachment C).



                              VERIFICATION

        I, Marshal Hoda, hereby verify and declare under penalty of

  perjury that the foregoing is true and correct.




                                             __________________________
                                             Marshal Hoda


                                             Dated: September 9, 2024




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   3-A                                        Friday, September 6, 2024 at 09:35:08 Central Daylight Time

Subject: Legal Notice re: Injunction Hearing
Date:    Friday, September 6, 2024 at 9:35:01 AM Central Daylight Time
From:    Marshal Hoda <marshal@thehodalawﬁrm.com>
To:      annapopescu622@gmail.com <annapopescu622@gmail.com>


To whom it may concern:

You have been sued by Bruce Cohn. My law ﬁrm represents Mr. Cohn in this
matter. The case is Cohn v. Popescu, et al., No. 1:24-CV-00337-MJT (E.D.
Tex.).

The purpose of this message is to provide you notice of an upcoming hearing
in this case. The Court will hold a Preliminary Injunction Hearing on
September 11, 2024 at 10:00 a.m. U.S. Central Time in Courtroom 2, Jack
Brooks Federal Courthouse, 300 Willow Street, Beaumont, Texas.

You can view and download the pleadings in this case, including the Court’s
Order setting the preliminary injunction hearing, at the following
webpage: https://www.hlfeservice.com/cohnvpopescu.

Mr. Cohn will be ﬁling a Motion for Preliminary Injunction prior to the
September11th hearing, which will be uploaded to the webpage provided
above when it is ﬁled.

You can contact me at marshal@thehodalawﬁrm.com.

Regards,
Marshal J. Hoda
Attorney & Founder
The Hoda Law Firm, PLLC




                                                                                                            1 of 1
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3-B


  online service



  Hello, how can I help you?

 09-06 09:37:26


                     To whom it may concern: You have been sued by Bruce Cohn. My law firm
                     represents Mr. Cohn in this matter. The case is Cohn v. Popescu, et al., No. 1:24-
                     CV-00337-MJT (E.D. Tex.). The purpose of this message is to provide you notice of
                     an upcoming hearing in this case. The Court will hold a Preliminary Injunction
                     Hearing on September 11, 2024 at 10:00 a.m. U.S. Central Time in Courtroom 2,
                     Jack Brooks Federal Courthouse, 300 Willow Street, Beaumont, Texas. You can
                     view and download the pleadings in this case, including the Court’s Order setting
                     the preliminary injunction hearing, at the following webpage:
                     https://www.hlfeservice.com/cohnvpopescu. Mr. Cohn will be filing a Motion for
                     Preliminary Injunction prior to the September11th hearing, which will be uploaded
                     to the webpage provided above when it is filed. You can contact me at
                     marshal@thehodalawfirm.com. Regards, Marshal J. Hoda Attorney & Founder The
                     Hoda Law Firm, PLLC

                                                                                       09-06 09:37:45




   Please enter...
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3-C
